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David Henretty, OSB # 03187
email: dhenretty81419@yahoo.com
OREGON LAW CENTER
225 S.W. 1st Avenue # 6
Ontario, OR 97914
Tel: (541) 889-3296
Fax: (541) 889-5562

       Of Attorneys for Plaintiff
       Complete list of counsel listed on signature page



                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON


MICHELLE HODSON,
                                                                Civil No.
               Plaintiff,

       vs.                                                                           COMPLAINT

K MART CORPORATION,                                       Fair Labor Standards Act (29 U.S.C. §§
KELLERMEYER BUILDING SERVICES, LLC.,                    201, et seq.), Oregon Wage Laws, Oregon
SERV CORP. INTERNATIONAL, and                                Common Law, Oregon Contract Law
ARMANDO ROJAS dba NAVI CLEANING
INTERNATIONAL,
                                                                   DEMAND FOR JURY TRIAL
               Defendants.


                                         JURISDICTION

       1. This Court has jurisdiction over the subject matter of this action pursuant to 29 U.S.C.

§ 216(b) (Fair Labor Standards Act); and 28 U.S.C § 1337, as it arises under acts of Congress

regulating commerce.

       2. This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over the claims

based on Oregon law, as they are so related to claims within the Court’s original jurisdiction that

they form part of the same case or controversy under Article III of the United States Constitution.

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                                           PARTIES

       3. Plaintiff, a former employee of defendants, performed cleaning services at the facility

of defendant K Mart Corporation in Ontario, Malheur County, Oregon.

       4. Defendant K Mart Corporation (“Kmart”) is a corporation organized under the laws of

Michigan engaged in interstate commerce.

       5. Defendant Kellermeyer Building Services LLC is a company organized under the laws

of Delaware engaged in interstate commerce.

       6. Defendant ServCorp International (“ServCorp”) is a corporation organized under the

laws of Utah engaged in interstate commerce.

       7. Defendant Armando Rojas is an individual doing business as Navi Cleaning

International engaged in interstate commerce.

                                            FACTS

       8. Defendants jointly employed plaintiff at the Kmart store located in Ontario, Oregon

during March 2006 to perform cleaning services.

       9. In March 2006, defendants offered plaintiff $700 a month to perform cleaning services

at the Kmart store in Ontario, Oregon.

       10. In March 2006, plaintiff accepted defendants’ offer.

       11. In March 2006, plaintiff performed cleaning services pursuant to the agreement.

       12. During the course of plaintiff’s employment, each day she worked a Kmart manager

locked her inside the store from 9 pm until 6 am the following day.

       13. On at least two occasions, plaintiff was confined in the store without a Kmart

manager who may have been empowered to allow her to exit.

       14. Plaintiff was not aware of any means of exiting the store without the assistance of a


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Kmart manager.

       15. During the course of her employment, plaintiff worked in excess of forty (40) hours

in at least one work week.

       16. In at least one work week, defendants failed to pay plaintiff the federally mandated

minimum wage.

       17. In at least one pay period, defendants failed to pay plaintiff the state mandated

minimum wage.

       18. In at least one work week, defendants failed to pay plaintiff time and a half for all

hours worked over forty hours in a week.

       19. On or about March 25, 2006 plaintiff terminated her employment with defendants.

       20. On or about April 10, 2006 plaintiff received a paycheck for an amount less than the

full amount due and owing.

       21. In June and October 2006 plaintiff, through her attorney, made written requests to

defendants to be paid her due and unpaid wages.

       22. Defendants failed to pay plaintiff all wages earned upon termination of employment.

                                      CLAIMS FOR RELIEF

                               First Claim - Fair Labor Standards Act

       23. Defendants violated 29 U.S.C. § 206(a)(1) by failing to pay plaintiff the hourly

minimum wage.

                              Second Claim - Fair Labor Standards Act

       24. Defendants violated 29 U.S.C. § 207(a)(1) by failing to pay plaintiff one and one-half

times the regular wage rate for hours worked in excess of forty (40) hours per week.

                             Third Claim - Oregon Minimum Wage Law


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          25. Defendants violated ORS 653.025 by failing to pay plaintiff the Oregon minimum

wage.

                               Fourth Claim - Oregon Weekly Overtime

          26. Defendants violated ORS 653.261 by failing to pay plaintiff one and one-half times

the regular wage rate for hours worked in excess of forty hours in a work week.

                 Fifth Claim - Failure to Pay Wages on Termination of Employment

          27. Defendant violated ORS 652.140 by failing to pay plaintiff unpaid wages when due

upon termination of her employment.

                                   Sixth Claim - False Imprisonment

          28. Defendants unlawfully imprisoned plaintiff by confining her within the store while

she was unaware of any reasonable means of exit.

          29. Defendants have acted with malice or have shown a reckless and outrageous

indifference to a highly unreasonable risk of harm and have acted with a conscious indifference

to the health, safety and welfare of plaintiff.

                                  Seventh Claim - Breach of Contract

          30. I n breach of contract, defendants failed to pay plaintiff $700 for her cleaning

services.

                                       PRAYER FOR RELIEF

          WHEREFORE, plaintiff respectfully requests that the Court grant her the following

relief:

          1. On her first claim, her unpaid minimum wages and an additional equal amount in

liquidated damages pursuant to FLSA;

          2. On her second claim, her unpaid overtime wages and an additional equal amount in


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liquidated damages pursuant to FLSA;

       3. On her third claim, her unpaid minimum hourly wages, plus statutory damages

pursuant to ORS 652.150;

       4. On her fourth claim, her unpaid weekly overtime wages, plus statutory damages

pursuant to ORS 652.150;

       5. On her fifth claim, statutory damages pursuant to ORS 652.150;

       6. On her sixth claim, an amount to be proved at trial, plus punitive damages;

       7. On her seventh claim, her contract damages;

       8. Pre-judgment and post-judgment interest;

       9. Her costs and attorney fees; and

       10. Such other and further relief as this Court deems just and proper.

DATED this _________ day of June, 2007.

                                             OREGON LAW CENTER

                                             ____________________________________
                                             David Henretty, OSB# 03187
                                             Tel: (541) 889-3296

                                             Spencer M. Neal, OSB # 77286
                                             email: spencerneal@justice.com
                                             OREGON LAW CENTER
                                             921 S.W. Washington Street, Suite 516
                                             Portland, OR 97205
                                             Tel: (503) 473-8325
                                             Fax: (503) 295-0676

                                             Sarah Radcliffe, OSB # 064775
                                             email: sarahradcliffeolc@yahoo.com
                                             OREGON LAW CENTER
                                             921 S.W. Washington Street, Suite 516
                                             Portland, OR 97205
                                             Tel: (503) 473-8322
                                             Fax: (503) 295-0676
                                                     Of Attorneys for Plaintiff

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